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  Jeff Carruth (TX SBN:. 24001846)            Christopher M. Lee
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  ATTORNEYS FOR
  ANSON FINANCIAL INC.
  DEBTOR AND DEBTOR IN POSSESSION

  Jason Ankele (TX SBN: 00786989)
  Sullivan & Cook, LLC
  600 Las Colinas Blvd. E. Ste. 1300
  Irving, Texas 75039-5699
  Telephone: (214) 520-7494
  E-mail: jankele@sullivancook.com

  SPECIAL COUNSEL FOR ANSON FINANCIAL INC.
  DEBTOR AND DEBTOR IN POSSESSION

                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

  IN RE:                                      §
                                              §
  ANSON FINANCIAL, INC.,                      §          CASE NO. 21-41517-elm-11
                                              §
            DEBTOR.                           §               HEARING SET:
                                                           May 23, 2022 at 9:30 a.m.

          FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC AS
          SPECIAL COUNSEL TO DEBTOR

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
 FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
 THE ELDON B. MAHON U.S. COURTHOUSE, 501 W. 10TH ST., FORT WORTH, TX
 76102-3643. BEFORE CLOSE OF BUSINESS ON APRIL 28, 2022, WHICH IS AT LEAST
 21 DAYS FROM THE DATE OF SERVICE HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
 COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
 THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A HEARING
 MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
 RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
 MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
 ACTION MAY BE TAKEN.


 FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC
 AS SPECIAL COUNSEL TO DEBTOR— Page 1                                             2123290.DOCX[1]
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 TO THE HONORABLE EDWARD L. MORRIS, U.S. BANKRUPTCY JUDGE:

        Sullivan & Cook, LLC (“Sullivan & Cook”), files this First Interim Fee Application of

 Sullivan & Cook, LLC as Special Counsel to the Debtor (the “Application”), relating to the role of

 Sullivan & Cook as special counsel to Anson Financial, Inc. (“Anson” or “Debtor), in the

 \Adversary Proceeding No. 21-04071, and in support thereof would show to the Court the

 following.

                                        INTRODUCTION

        1.      Sullivan & Cook seeks interim approval of its fees and expenses for the period of

 February 9, 2022 through March 31, 2022 (the “Application Period”) and an order directing the

 Debtor to pay the amounts awarded herein.

                                 JURISDICTION AND VENUE

        2.      This Court has jurisdiction to consider this Application under the provisions of 28

 U.S.C. §§ 1334 and 157.

        3.      This matter involves the administration of a bankruptcy estate and, thus, is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

        4.      Venue of this proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408

 and 1409.

        5.      This Court has constitutional authority to decide this matter under Stern v.

 Marshall, 564 U.S. 462 (2011) and its progeny.

                                  FACTUAL BACKGROUND

 The identity and background of the Debtor

        6.      Anson is a Texas corporation that has been in business for thirty-four (34) years in

 the real estate lending field. Anson originates or purchases debt instruments secured by real


 FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC
 AS SPECIAL COUNSEL TO DEBTOR— Page 2                                                   2123290.DOCX[1]
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 property (e.g., promissory notes and deeds of trust) (collectively, the “Investor Notes”) and then

 assigns interests in the Investor Notes to investors.

 The Commencement of the Bankruptcy Cases

        7.      On June 25, 2021 (the “Petition Date”), Anson commenced the above-caption case

 by filing a voluntary petition under Chapter 11 of the Code. Anson is in possession of its assets

 and is proceeding in this case as a debtor-in-possession. Areya Holder Aurzada is the Subchapter

 V Trustee.

        8.      On November 1, 2021, Anson filed its Notice of Removal of the state court action

 between Frazier and the Debtor, under Adv. Proc. No. 21-04071.

 Retention of Sullivan & Cook

        9.      On February 9, 2022, Anson retained Sullivan & Cook as special counsel for the

 Debtor in connection with the prosecution of the Adv. Proc. No. 21-04071.

        10.     On March 4, 2022, the Court entered an Order (Docket No. 253) approving the

 employment application (Docket No. 238) (the “Employment Application”) and retention of

 Sullivan & Cook by Anson effective as of February 9, 2022.

 Details of the fees and expenses

        11.     During the Application Period, Sullivan & Cook expended a total of at least 49.60

 hours, in the amount of approximately $395.00 per hour for the professional working on this case.

        12.     The rates charged are the normal hourly billing rates of Sullivan & Cook in effect

 during the Application Period.

        13.     During the Application Period, Sullivan & Cook earned fees in the amount of

 $19,592.00.




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 AS SPECIAL COUNSEL TO DEBTOR— Page 3                                                  2123290.DOCX[1]
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        14.     The following exhibits described the fees and expenses incurred by Sullivan &

 Cook during the Application Period.

                  Exhibit No.                                   Description

                    ANS175               Sullivan & Cook Fee Statements


        15.     The following professionals are included in the Fee Statements.

          Professional      Hourly rate                           Experience

          Jason Ankele         $395.00      Licensed since 1993, Primary practice area: Litigation


        16.     Sullivan & Cook maintained written records of the time expended by above

 attorney in the rendition of professional services to Anson. Exhibit ANS175 contains the

 supporting detail of the hours, hourly rates, and fees attributable to the professional who performed

 services on behalf of Anson during the Application Period.

                                      RELIEF REQUESTED

        17.     Sullivan & Cook seeks interim approval of its fees earned and expenses incurred

 for the Application Period, and, accordingly, the payment of such fees and expenses and

 authorization for the Debtor and/or the estate to make such payment upon entry of an Order

 approving this Application.

        18.     A proposed form of Order is submitted with this Application and is incorporated

 by reference herein.

                                         BASIS OF RELIEF

        19.     During the time that Sullivan & Cook served as counsel to the Debtor, Sullivan &

 Cook performed the services essential to Anson’s prosecution of Adv. Pro. No. 21-04071.




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 AS SPECIAL COUNSEL TO DEBTOR— Page 4                                                     2123290.DOCX[1]
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           20.   Sullivan & Cook represents that, to the best of its knowledge, it has complied with

 Code §§ 330 and/or 331, the Bankruptcy Rules, the Local Rules, and the Guidelines adopted by

 the Executive Office for the United States Trustee.

           21.   All legal services performed by Sullivan & Cook were performed for and on the

 behalf of Anson and not on behalf of any other individual or entity. Theses services were rendered

 in discharge of Sullivan & Cook’s professional responsibilities as special counsel to Anson.

 Sullivan & Cook’s services were reasonable and necessary in defending Anson in the Adv. Proc.

 No. 21-04071.

           22.   No payments have been made or promised to date except as set forth in this

 Application.

           23.   No compensation has been shared by Sullivan & Cook with any other entity.

           24.   No agreements to share compensation exist between Sullivan & Cook and any other

 person.

                           SUMMARY OF SERVICES PERFORMED

           25.   Sullivan & Cook tracked the time billed in this case as set forth in Exhibit ANS175.

           26.   All services performed fall under the category B190, Litigation/Other Contested

 Matters, which includes work associated with addressing other litigation matters aside from the

 core proceedings occurring in the main case. For this case and this Debtor, this task category

 captured time relating to the adversary proceedings involving Frazier Asset Management, Inc.

 under Adv. Proc. No. 21-04071.

                                 JUSTIFICATION FOR AWARD

           27.   In an attempt to establish an objective basis for determining the amount of

 compensation that is reasonable for attorneys’ services pursuant to Code § 330, the Fifth Circuit



 FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC
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 has instructed the lower courts that they must explain the findings and reasons on which an award

 of professional fees is based.1

            28.      To aid the lower courts, the First Colonial court applied the factors originally set

 forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). The Johnson

 factors to be considered in determining the “reasonableness” of attorneys’ fees are delineated

 below, and Sullivan & Cook’s compliance therewith, if applicable, is described following each

 factor:

                     a. Time and Labor Required. Exhibit ANS175 delineates all the work performed
                        by Sullivan & Cook for which compensation is requested during the
                        Application Period. Sullivan & Cook submits that the information contained in
                        the exhibit supports the fees requested and reflects the reasonableness of such
                        fees.

                     b. Novelty and/or Difficulty. The issues presented in Adv. Pro. No. 21-04071 are
                        not novel or difficult per se, but they are complex; accordingly, the issues did
                        require substantial attention and preparation for trial.

                     c. Skill Requisite to Perform the Legal Service Properly. The attorney primarily
                        working on this matter is primarily engaged in Texas state law litigation, of
                        which Adv. Pro. No. 21-04071 is founded upon.

                     d. Preclusion of Other Employment. The time demands of the general
                        representation of Anson resulted in some disruption of other employment
                        engagements undertaken by Sullivan & Cook during the Application Period.

                     e. Customary Fee. The hourly rates charged for each professional performing
                        services for Anson is summarized in the table above and appears in the Fee
                        Statements, Exhibit ANS175. These rates are no greater, and in some instances,
                        may be lower, than those being charged by professionals with similar
                        qualifications and experience. The rates used in these cases are the same as
                        those customarily charged by Sullivan & Cook for litigation clients. The hourly
                        rates requested herein compare favorably with average costs for similar legal
                        services being provided by statewide law firms that regularly appear in the
                        Northern, Southern, Easter, and/or Western Districts of Texas, along with State
                        District courts in Texas.



 1
     See In re First Colonial Corp. of America, 544 F.2d 1291 (5th Cir.), cert denied, 431 U.S. 904 (1977).


 FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC
 AS SPECIAL COUNSEL TO DEBTOR— Page 6                                                                         2123290.DOCX[1]
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                f. Whether the Fee is Fixed or Contingent. Sullivan & Cook’s fees are neither
                   fixed nor contingent other than on the contingency of allowance by the Court
                   and availability of assets for payment. Fees are based on the actual total number
                   of hours worked.

                g. Time Limitations. This representation to date did represent somewhat unusual
                   time limitations due to the quick trial docket setting and various trial preparation
                   filings due.

                h. Amount Involved and Results Obtained. The fees incurred are very reasonable
                   in relation to the issues arising and work performed to date. The work
                   performed to date has helped to defend the Debtor’s rights in connection with
                   the prosecution of Adv. Proc. No. 21-04071. The results obtained during the
                   Application Period include getting the Debtor ready for trial.

                i. Experience, Reputation, and Ability of the Attorneys. Sullivan & Cook’s
                   primary attorney assigned to this matter has appeared regularly in Texas state
                   court litigation since 1993.

                j. Undesirability of Cases. Sullivan & Cook has not found these cases to be
                   undesirable, but rather, considers the issues that have been raised in this case to
                   be of the type that Sullivan & Cook is trained to adequately address.

                k. Nature and Length of Professional Relationship with Client. Sullivan & Cook
                   has represented Anson in connection with the Frazier litigation since 2016.

                l. Awards in Similar Cases. Based on Sullivan & Cook’s experience, the fees
                   requested herein are commensurate with fees allowed in proceedings of similar
                   scope for the services rendered.

                                  RESERVATION OF RIGHTS

        29.     Sullivan & Cook reserves the right to amend, and/or supplement this Application.

                                              NOTICE

        30.     Notice of this Application is served upon all parties which appear in the mailing

 matrix/creditors list available for this case and all registered ECF users who have appeared to date.

                                 CONCLUSION AND PRAYER

        WHEREFORE, Sullivan & Cook, LLC, respectfully requests interim approval and

 allowance of fees in the total amount of $19,592.00 and authorization for the Debtor to make such



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 AS SPECIAL COUNSEL TO DEBTOR— Page 7                                                      2123290.DOCX[1]
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 payment upon entry of an Order approving this Application. Sullivan & Cook respectfully requests

 such order and further relief to which Sullivan & Cook is entitled at law or in equity.



  Dated: April 7, 2022                     Respectfully submitted:

                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                           By:       /s/ Jeff Carruth
                                                 JEFF CARRUTH (TX SBN 24001846)
                                                 3030 Matlock Rd., Suite 201
                                                 Arlington, Texas 76105
                                                 Telephone: (713) 341-1158
                                                 Fax: (866) 666-5322
                                                 E-mail: jcarruth@wkpz.com

                                           ATTORNEYS FOR ANSON FINANCIAL, INC.
                                           DEBTOR AND DEBTOR IN POSSESSION

                                           SULLIVAN & COOK, LLC

                                           By:___/s/ M. Jason Ankele________________
                                               M. Jason Ankele (TX SBN: 00786989)
                                               600 Las Colinas Blvd. E. Ste. 1300
                                               Irving, Texas 75039-5699
                                               Telephone: (214) 520-7494
                                               Email: jankele@sullivancook.com

                                           SPECIAL COUNSEL FOR ANSON FINANCIAL,
                                           INC.




 FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC
 AS SPECIAL COUNSEL TO DEBTOR— Page 8                                                       2123290.DOCX[1]
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                                 CERTIFICATE OF SERVICE

 The undersigned hereby certifies that a true and correct copy of the foregoing was served on April
 7, 2022 (1) by electronic notice to all ECF users who have appeared in this case to date, and/or as
 set forth below and (2) by regular mail to all parties appearing in the attached address list (i.e.
 mailing matrix) obtained from the Court’s PACER facility. A copy of the service lists was not
 served with the regular mail service set but is available by contacting the undersigned.

 ANY PARTY REQUESTING A FULL SIZED COPY OF THIS PLEADING OR COPIES
 OF ANY EXHIBITS SHOULD CONTACT THE UNDERSIGNED.

                                                    /s/ Jeff Carruth
                                              JEFF CARRUTH




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 Jeffery D. Carruth on behalf of Debtor Anson
 Financial, Inc.                                           Lawrence Chek on behalf of Creditor Wells Fargo
 jcarruth@wkpz.com,                                        Bank, National Association
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        lchek@pamlaw.com, mislas@pamlaw.com
 carruthjr87698@notify.bestcase.com
                                                           Eboney D. Cobb on behalf of Creditor City of
 Jeffery D. Carruth on behalf of Defendant Anson           Colleyville
 Financial, Inc.                                           ecobb@pbfcm.com,
 jcarruth@wkpz.com,                                        ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com
 jcarruth@aol.com;atty_carruth@trustesolutions.com;
 carruthjr87698@notify.bestcase.com                        Eboney D. Cobb on behalf of Creditor Grapevine-
                                                           Colleyville ISD
 Jeffery D. Carruth on behalf of Plaintiff AFI Loan        ecobb@pbfcm.com,
 Servicing, LLC                                            ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        Ian D. Ghrist on behalf of Creditor Ghrist Law Firm
 carruthjr87698@notify.bestcase.com                        PLLC
                                                           ian@ghristlaw.com,
 Jeffery D. Carruth on behalf of Plaintiff Anson           christian@ghristlaw.com;idghrist@gmail.com;sarah
 Financial, Inc.                                           @ghristlaw.com
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        Ian D. Ghrist on behalf of Defendant Ghrist Law
 carruthjr87698@notify.bestcase.com                        Firm PLLC
                                                           ian@ghristlaw.com,
 Jeffery D. Carruth on behalf of Plaintiff J. Michael      christian@ghristlaw.com;idghrist@gmail.com;sarah
 Ferguson P.C.                                             @ghristlaw.com
 jcarruth@wkpz.com,
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        Ian D. Ghrist on behalf of Defendant Ian Ghrist
 carruthjr87698@notify.bestcase.com                        ian@ghristlaw.com,
                                                           christian@ghristlaw.com;idghrist@gmail.com;sarah
 Jeffery D. Carruth on behalf of Plaintiff MBH Real        @ghristlaw.com
 Estate, LLC
 jcarruth@wkpz.com,                                        Kathryn Hernandez on behalf of Debtor Anson
 jcarruth@aol.com;atty_carruth@trustesolutions.com;        Financial, Inc.
 carruthjr87698@notify.bestcase.com                        k.magan@maganlawpllc.com

 Alonzo Zachary Casas on behalf of Creditor                Kathryn Hernandez on behalf of Defendant Anson
 JPMORGAN CHASE BANK, N.A.                                 Financial, Inc.
 ecftxnb@aldridgepite.com,                                 k.magan@maganlawpllc.com
 acasas@ecf.inforuptcy.com
                                                           Kathryn Hernandez on behalf of Interested Party Joe
 Amanda Allison Catlin on behalf of Creditor Sterling      Michael Ferguson
 Bates                                                     k.magan@maganlawpllc.com
 Amanda.Catlin@fnf.com
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 Kathryn Hernandez on behalf of Plaintiff AFI Loan      mkidd@lawgjm.com;mpetrocchi@yahoo.com
 Servicing, LLC
 k.magan@maganlawpllc.com                               Laurie A. Spindler on behalf of Creditor Tarrant
                                                        County
 Kathryn Hernandez on behalf of Plaintiff Anson         Laurie.Spindler@lgbs.com, Dora.Casiano-
 Financial, Inc.                                        Perez@lgbs.com;dallas.bankruptcy@lgbs.com
 k.magan@maganlawpllc.com
                                                        Matthew Tillma on behalf of Creditor JPMorgan
 Kathryn Hernandez on behalf of Plaintiff J. Michael    Chase Bank, N.A. s/b/m/t Chase Bank USA, N.A.
 Ferguson P.C.                                          Matthew.Tillma@BonialPC.com,
 k.magan@maganlawpllc.com                               Notices.Bonial@ecf.courtdrive.com

 Kathryn Hernandez on behalf of Plaintiff MBH Real      United States Trustee
 Estate, LLC                                            ustpregion06.da.ecf@usdoj.gov
 k.magan@maganlawpllc.com
                                                        Lyndel Anne Vargas on behalf of Creditor B. Frazier
 Areya Holder Aurzada (SBRA V)                          Management, Inc.
 trustee@holderlawpc.com,                               LVargas@chfirm.com,
 aha@trustesolutions.net;caha11@trustesolutions.net     chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
                                                        ourtdrive.com
 Christopher Marvin Lee on behalf of Debtor Anson
 Financial, Inc.                                        Lyndel Anne Vargas on behalf of Creditor Brian
 ecf@leebankruptcy.com,                                 Frazier
 clerk@leebankruptcy.com;LeeLawFirmPLLC@jubil           LVargas@chfirm.com,
 eebk.net                                               chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
                                                        ourtdrive.com
 Craig C. Lesok on behalf of Creditor Jentex
 Financial, Inc.                                        Lyndel Anne Vargas on behalf of Plaintiff B. Frazier
 craig@lesoklaw.com                                     Management, Inc.
                                                        LVargas@chfirm.com,
 Joyce W. Lindauer on behalf of Creditor Joseph I       chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
 Yammine                                                ourtdrive.com
 joyce@joycelindauer.com,
 dian@joycelindauer.com;deann@joycelindauer.com;        Lyndel Anne Vargas on behalf of Plaintiff Brian H.
 12113@notices.nextchapterbk.com                        Frazier
                                                        LVargas@chfirm.com,
 Mark Joseph Petrocchi on behalf of Creditor Leroy J.   chps.ecfnotices@ecf.courtdrive.com;kbeckton@ecf.c
 York Family Limited Partnership                        ourtdrive.com
 mpetrocchi@lawgjm.com,
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                              REGULAR MAIL LIST / MATRIX
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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

   IN RE:                                          §
                                                   §
   ANSON FINANCIAL, INC.,                          §          CASE NO. 21-41517-elm-11
                                                   §
          DEBTOR.                                  §

        ORDER GRANTING FIRST INTERIM FEE APPLICATION OF
        SULLIVAN & COOK, LLC AS SPECIAL COUNSEL TO DEBTOR (RE:
        DOCKET NO. 270)

         On this day came on for consideration the First Interim Fee Application of Sullivan &
 Cook, LLC as Special Counsel to the Debtor (Docket No. 270) (the “Application”) filed herein on
 April 7, 2022 by Sullivan & Cook, LLC (“Sullivan & Cook”), attorneys for the Debtor. The Court
 finds and concludes that the Motion contains the appropriate notices under the Local Bankruptcy
 Rules, and no further notice is necessary, and that cause exists to grant the relief requested in the
 Sullivan & Cook Fee Application to the extent set forth below.

 IT IS THEREFORE ORDERED THAT:

        1.      The Sullivan & Cook Fee Application is granted as set forth herein.



 ORDER GRANTING FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC AS SPECIAL COUNSEL
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         2.      Sullivan & Cook is awarded on an interim basis fees in the total amount of
 $19,592.00 for the representation of Anson by Sullivan & Cook during the Application Period,
 subject to later and final approval of the Court.

         3.       The Debtor is authorized and directed to pay Sullivan & Cook from funds of the
 estate for the fees awarded in this Order.

                                  #### END OF ORDER ####




 ORDER GRANTING FIRST INTERIM FEE APPLICATION OF SULLIVAN & COOK, LLC AS SPECIAL COUNSEL
 TO DEBTOR (RE: DOCKET NO. 270) — Page 2                                       2123290.DOCX[7]
     Case 21-41517-elm11 Doc 270600   Sullivan
                                  Filed        & Cook,
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                                    E. Las Colinas Blvd, Suite 1300
                                                     Irving, TX 75039


Jeffrey E. Cook, Attorney at Law                                                            Office       (214) 520-7494
Board Certified, Civil Trial Law                                                            Cell         (214) 478-2448
Texas Board of Legal Specialization                                                         Fax          (214) 528-6925
                                                                                                 jcook@sullivancook.com


                                                     March 31, 2022                      EXHIBIT ANS175

Mike Ferguson - via email
mike@afimortgage.com




In Reference To: CASE NO. 21-41517-ELM: In re Anson Financial, Inc., Debtor
                 B. Frazier Management, Inc. and Brian H. Frazier v. Anson
                 Financial, Inc.
Invoice #52649

              Professional Services

                                                                                              Rate      Hours    Amount

   2/9/2022 JA         Reviewed correspondence from M. Ferguson re: federal court           395.00/hr    1.40    553.00
                       trial; Telephone conference with M. Ferguson re: same;
                       Conference re: representation of AFI in adversary proceeding;
                       drafted agreement; reviewed and revised declaration re:
                       representation of AFI; Telephone conference with M. Ferguson
                       re: AFI trial; Telephone conference with K. Hernandez re: AFI
                       representation.

  2/10/2022 JA         Reviewed scheduling order and scheduled all deadlines; reviewed      395.00/hr    0.40    158.00
                       motion to retain counsel.

  2/21/2022 JA         Exchanged correspondence re: hearing(s) on March 7.                  395.00/hr    0.10      39.50

  2/22/2022 JA         Reviewed correspondence re: whether limine hearing still             395.00/hr    0.10      39.50
                       necessary.

  2/24/2022 JA         Reviewed correspondence from Lyndel Vargas re: need for limine       395.00/hr    1.20    474.00
                       hearing on non-jury trial; reviewed Caleb Moore's response;
                       Telephone conference with M. Ferguson re: status; Telephone
                       conference with K. Hernandez re: status and strategy.

  2/25/2022 JA         Reviewed exchange of multiple correspondence re: limine and          395.00/hr    0.10      39.50
                       pretrial hearings.

  2/26/2022 JA         Began reviewing federal research forwarded by M. Ferguson.           395.00/hr    0.50    197.50

  2/28/2022 JA         Reviewed additional federal research from M. Ferguson.               395.00/hr    0.20      79.00
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Mike Ferguson - via email                                                                                    Page      2




                                                                                           Rate      Hours     Amount

   3/1/2022 JA      Met with K. Hernandez and M. Ferguson re: strategy session and       395.00/hr    2.40      948.00
                    pretrial preparation plan; continued reviewing federal research
                    forwarded by M. Ferguson and corresponded with him re:
                    potential strategy.

   3/2/2022 JA      Reviewed multiple correspondences from K. Hernandez re: legal        395.00/hr    1.50      592.50
                    approach to trial; reviewed correspondence re: limine hearing;
                    Conference re: jurisdiction; multiple telephone conferences with
                    M Ferguson re: trial information and strategy.

   3/3/2022 JA      Reviewed correspondence from L. Vargas agreeing to remove            395.00/hr    1.00      395.00
                    limine hearing; Reviewed correspondence to court cleark
                    removing liminie hearing; Worked on Joint Pretrial Order,
                    including review of local rules and Telephone conference with K.
                    Hernandez.

   3/4/2022 JA      Reviewed order granting employment in adversary proceeding;          395.00/hr    1.50      592.50
                    Telephone conference with M. Ferguson regarding status and
                    strategy; Reviewed attorney's fees history bill for redaction.

   3/6/2022 JA      Cursory review of research and analysis forwarded by M.              395.00/hr    0.20          79.00
                    Ferguson.

   3/8/2022 JA      Reviewed exchange between counsel re: scope of hearing;              395.00/hr    2.10      829.50
                    worked on pretrial briefing, including Telephone conference with
                    K. Hernandez.

   3/9/2022 JA      Completed review and revision of pretrial order and forwarded        395.00/hr    1.30      513.50
                    same to K. Hernandez; Conference with K. Hernandez regarding
                    pretrial order and briefing.

  3/10/2022 JA      Reviewed revised pre-trial order and FAM's proposed stipulated       395.00/hr    0.50      197.50
                    facts; Telephone conference with K. Hernandez regarding same.

  3/11/2022 JA      Reviewed K. Hernandez's analysis of amendment of BOC;                395.00/hr    0.40      158.00
                    Telephone conference with K. Hernandez re: opposing counsel's
                    resistance to logical pretrial order; reviewed correspondence from
                    Lyndel Vargas re: Joint Pretrial Order.

  3/14/2022 JA      Reviewed multiple exchange of correspondence between L.              395.00/hr    0.40      158.00
                    Vargas and K. Hernandez; reviewed research from K. Hernandez
                    re: standing; Telephone conference with K. Hernandez re: same
                    and trial strategy.

  3/15/2022 JA      Reviewed research re: standing and capacity and extinguishment       395.00/hr    1.10      434.50
                    of claims; reviewed updated draft of joint pretrial order from L
                    Vargas.
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                                                                                               Rate      Hours     Amount

  3/16/2022 JA      Reviewed draft of Debtor's exhibit and witness list; client meeting      395.00/hr    4.10    1,619.50
                    re: preparation of exhibit list and witness list and general trial
                    preparation.

  3/17/2022 JA      Conference re: attorneys' fees statement and redaction;                  395.00/hr    1.10      434.50
                    Telephone conference with M. Ferguson re: pretrial filing and
                    preparation; reviewed for redaction Sullivan & Cook history bill.

  3/18/2022 JA      Reviewed and revised draft joint pretrial order; Telephone               395.00/hr    2.40      948.00
                    conference with K. Hernandez re: same; reviewed
                    correspondence from C Moore re: intended participation in trial;
                    reviewed and redlined draft motion to disqualify Caleb Moore. as
                    counsel

  3/21/2022 JA      Reviewed exhibit list and exhibits; began reviewing and                  395.00/hr    3.00    1,185.00
                    conference re: plea to jurisdiction; multiple telephone conference
                    with K. Hernandez re: pretrial matters; reviewed and redlined
                    draft Motion to Disqualify Caleb Moore as counsel for FAM;
                    reviewed correspondence from C Moore responding to potential
                    disqualification.

  3/22/2022 JA      Reviewed additional exhibits from plaintiffs; Telephone                  395.00/hr    2.80    1,106.00
                    conference with K. Hernandez re: DQ motion; drafted additional
                    language for DQ motion based on prior witness designation of
                    Ghrist; reviewed certain of plaintiff's exhibits re: Ghrist;
                    Telephone conference with K. Hernandez re: same; reviewed
                    exchange of correspondence between K. Hernandez and Caleb
                    Moore re: conference on motion to DQ; Telephone conference
                    with K. Hernandez re: motion to DQ; reviewed and redlined
                    revised pretrial order; brief conference re: pretrial order.

  3/23/2022 JA      Reviewed and revised draft motion to DQ, including pulling docket        395.00/hr    1.30      513.50
                    sheet from 67th District court; Telephone conference with K.
                    Hernandez re: same.

  3/24/2022 JA      Final review and redline of Motion to DQ and M. Ferguson                 395.00/hr    0.70      276.50
                    declaration in support.

  3/25/2022 JA      Reviewed and revised plea to jurisdiction; reviewed and revised          395.00/hr    4.40    1,738.00
                    draft FOF and COL; multiple conferences re: pretrial filings;
                    reviewed multiple correspondence re: amendments to draft
                    pretrial order; cursory review of draft trial brief and conference re:
                    same.

  3/26/2022 JA      Reviewed and revised Defendant's Trial Brief.                            395.00/hr    2.00      790.00
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                                                                                               Rate      Hours      Amount

  3/27/2022 JA       Continued revisions to, and created redline of, Defendant's Trial       395.00/hr    3.60     1,422.00
                     Brief; Conference with K. Hernandez re: same.

  3/28/2022 JA       Reviewed and revised final draft of Defendant's FOF and COL;            395.00/hr    4.70     1,856.50
                     final review and revision of Defendants' Trial Brief; multiple
                     conference re: same; reviewed and revised draft Plea to
                     Jurisdiction.

  3/29/2022 JA       Telephone conference with K. Hernandez re: Plaintiff's pretrial         395.00/hr    2.80     1,106.00
                     filings and plea to jurisdiction strategy; reviewed and annotated
                     Plaintiffs' Pretrial Brief; reviewed Plaintiffs' proposes FOF and
                     COL; reviewed additional argument distinguishing single case on
                     which Plaintiffs rely; final review of plea to jurisdiction and
                     conference re: procedure and status; reviewed and worked on
                     potential rebuttal exhibits; review additional research re: suing for
                     breach of contract; Conference re: same.

  3/31/2022 JA       Reviewed enhanced briefing from K. Hernandez.                           395.00/hr    0.30      118.50

             For professional services rendered                                                       49.60      $19,592.00


               Balance due                                                                                    $19,592.00



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                                      Timekeeper Summary
Name                                                                  Hours      Rate      Amount
Jason Ankele                                                          49.60    395.00   $19,592.00
